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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA

                                       Criminal Minutes

Date: February 21, 2020                             Judge: Honorable Richard Seeborg

Court Reporter: Marla Knox
Time: 20 minutes
Case No.: CR 18-00119 RS
Case Name: United States of America v. (see below)

                                            Defense Counsel:
Jonathan Aguilar (P)(Custody)(1)            Martha Boersch
Luis Cid-Salinas (P) (Appearance waived)(2) Brian Getz
Juan Carlos Gallardo (P)(Custody)(3)        Ashley Riser
Josue Gonzalez (P)(Appearance waived)(4) No Attorney Appearance
Orlando Carlos Hernandez (P)(Custody)(5)    Harris Taback
Michael Rebolledo (P)(Custody)(6)           Mark Goldrosen, Pam Herzig, Don Knight
Mario Reyes (P)(Out of Custody)(7)          Harris Taback appearing specially for George
                                            Boisseau
Eddy Urbina (P)(Custody)(9)                 James Thomson
Weston Venegas (P)(Custody)(10)             Ethan Balogh

Attorney(s) for Government: Andrew Scoble, Ravi Narayan
Attorney(s) for Defendant(s): See above
Interpreter: n/a
Probation Officer: n/a
Deputy Clerk: Corinne Lew

                                       PROCEEDINGS

Status Hearing Held.
                                          SUMMARY

The judge approved the use of restraints. Government has spent their efforts trying to pursue
plea negotiations with the various defendants. The parties continue to meet and confer either by
phone or in person. Case currently scheduled on 4/21/2020 has been continued to 4/22/2020 at
2:30 p.m. for Status and Motions Hearing. Case currently scheduled on 6/23/2020 has been
continued to 6/24/2020 at 2:30 pm for Motions Hearing.

EXCLUDABLE DELAY:
Category: Effective Preparation of Counsel – for the reasons stated on the record.
Begins: 2/21/2020
Ends: 6/24/2020
Government to prepare an exclusion order
